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 4   Telephone: (916) 422-4022
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                    )
 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:15-cr-00177-GEB
10                                                  )
                   Plaintiff,                       )   DEFENDANT’S STIPULATION AND
11                                                  )   ORDER
            vs.                                     )
12                                                  )   Date: December 16, 2016
     JASON MATECKI, et al.,                         )   Time: 9:00 a.m.
13                                                  )   Judge: Garland E. Burrell, Jr.
14                 Defendants.                      )
                                                    )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for December 2, 2016, at 9:00 a.m. is continued to
18   December 16, at 9:00 a.m. in the same courtroom. Defendant needs additional time to
19   prepare for sentencing. Josh Sigal, Assistant United States Attorney, and Thomas A.
20   Johnson, Defendant’s attorney, agree to this continuance. The PSR schedule is amended
21   as follows:
22
     Judgment and Sentencing date:                               December 16, 2016
23
24
     Reply or Statement                                          December 9, 2016
25
     Motion for Correction of the Pre-Sentence
26   Report shall be filed with the court and                    December 2, 2016
27   served on the Probation Officer and opposing
     counsel no later than:
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     The Pre-Sentence Report shall be filed with
 1
     the court and disclosed to counsel no later         November 18, 2016
 2   than:

 3   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the           November 11, 2016
 4
     Probation Officer and opposing counsel
 5   no later than:

 6
 7   IT IS SO STIPULATED.

 8
     DATED: November 7, 2016                       By:   /s/ Thomas A. Johnson
 9                                                       THOMAS A. JOHNSON
                                                         Attorney for Jason Matecki
10
     DATED: November 7, 2016                             PHILLIP A. TALBERT
11                                                       Acting United States Attorney
12                                                 By:    /s/ Thomas A. Johnson for
                                                         JOSHUA SIGAL
13                                                       Assistant United States Attorney
14   IT IS SO ORDERED, commencing at 9:00 a.m.

15   Dated: November 8, 2016

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